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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                    SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                                 CRIMINAL ACTION NO. 1:08cr85WJG-RHW-1

WILLIAM C. BRELAND, JR.


                                               ORDER


        THIS MATTER is before the Court on motion [34] of Defendant William C. Breland, Jr., for

release pending sentencing. Upon review of the record, the Court finds that Defendant’s motion is not

well taken and should be denied.

        Defendant has an extensive criminal history dating back to 1994, consisting of felony and

misdemeanor charges, as well as probation violations and charges for failure to appear for court

hearings. He currently has outstanding warrants for his arrest in the states of Arizona and Texas; has

recent drug charges pending in state court in Harrison County; and has admitted to the recent use of

cocaine. With this information before it supplied by the United States Probation Office, and the

information contained in the United States’ response to Defendant’s motion for release, the Court

determines that Defendant is not a candidate for release on bond, and the interest of the public would be

best served by his remaining in custody pending his sentencing hearing. It is therefore,

        ORDERED that Defendant William C. Breland, Jr.’s motion [34] for release on bond be, and is

hereby, denied.

        SO ORDERED this the 11th day of December, 2008.




                                                  UNITED STATES SENIOR DISTRICT JUDGE

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